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New York * New Jersey * PHILADELPHIA

June 8, 2018

Hon. Michael A. Shipp
United States District Court
for the District of New Jersey
Clarkson S. Fisher Building
& U.S. Courthouse
402 East State Street
Trenton, NJ 08608

Re: In re Valeant Pharmaceuticals International, Inc. Securities Litigation,
3:15-cev-07658-MAS-LHG: Consolidation of New Action

Dear Judge Shipp:

We write to notify the Court and Clerk of Timber Hill LLC v. Valeant Pharmaceuticals
International, Inc., et al., No. 18-cv-10246 (D.N.J.), a recently-filed securities class action arising
under the same facts and alleging violations of the same securities laws as this consolidated class
action, In re Valeant Pharmaceuticals International, Inc. Securities Litigation, 3:15-cv-07658-
MAS-LHG (the “Consolidated Class Action”).

On May 31, 2016, the Court entered an order consolidating the securities class actions
against Valeant and the Individual Defendants and appointing TIAA as Lead Plaintiff to litigate the
Consolidated Class Action. ECF No. 67 (the “Consolidation Order’). TIAA filed its Consolidated
Complaint on June 24, 2017 (ECF No. 80) and has prosecuted claims through motions to dismiss
and into discovery on behalf of a class that includes “purchasers of Valeant equity securities and
senior notes.”

The Court's Consolidation Order instructs that subsequently filed securities class actions,
like the Timber Hill action, ‘‘shall be consolidated” into the Consolidated Class Action. and that
consolidation is to occur “absent an order of the Court.” ECF No. 67 at 1. Accordingly, Lead
Plaintiff TIAA respectfully requests that the Clerk consolidate the Timber Hill action into the
Consolidated Class Action. /d. at 1. A copy of this letter and the Court’s Consolidation Order are
being provided by counsel for Lead Plaintiff to counsel for Timber Hill. Pursuant to the
Consolidation Order, Timber Hill has ten days to seek relief should it object to consolidation. See
id. at 1-2.

 

Sincerely,

 

Christopher A. Seeger

 

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